    Case:19-01041-BKT7 Doc#:161 Filed:08/12/20 Entered:08/12/20 13:44:42                      Desc: Main
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                                       United States Bankruptcy Court
                                           District of Puerto Rico
 In re   LUIS JAVIER VAZQUEZ URQUIA                                            Case No.    19-01041 BKT
                                                         Debtor(s)             Chapter     7


                                       AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Schedule A/B: to add &/or adjust inadvertently omitted detail &/or value or balances at petition date of
personal property & add reference: IRS Secured Lien of $33,292.00 on "All of debtor(s) rights, title and interest
to property - 26 U.S.C. §6321";
Schedule C: To incorporate & adjust corresponding exemptions & to account for the Secured Lien of IRS.
Schedule I & J: To add part time employment w/ Clinica Villalba obtained 8 months after filing bankruptcy
& averaged income from 5 months of employment since October 2019 to February 2020 of $345.26; the added
income previously projected for "medical plan & sporadic repair glasses" of $276.64 as the average of 6 months
pre petition has been maintained although no longer applicable to projected income on Schedule I; adjusted
note at foot of Schedule J regarding the concept of 'estimated & projected' repayment plans or workouts with
DSO, IRS, Treasury & Student Loan of approx. $1,536 monthly that debtor hopes to settle w/ these creditors
after completion of his chapter 7. Upon discharge of the unsecured portion of the tax claims D must deal with
priority taxes, with DSO arrearage accrued when pension was over $5,000 monthly & Student Loan which he
must nevertheless continue to attempt to pay notwithstanding a projected future workout. As indicated in the
prior Amendments, these amounts are not being paid now by D, but are projected & estimated. Since May
2019, DSO was provisionally reduced to a more reasonable amount & D has now maintained DSO current. The
inadvertently omitted signature page for the Schedule I amended at doc #130 has now been added to correct the
prior omission. Notwithstanding, the electronic signature page to the Amended Means Test at doc #130 was
duly attached therein, nevertheless. With or without these projections Debtor continues to show a deficit in
disposable income.
                        NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the
amendment(s) listed above has been given this date to any and all entities affected by the amendment as
follows: No new or revised creditors have been amended or affected, nor amendment to classes of claims to
warrant special notice to any such creditors.

Date March 3, 2020                            /s/ Lyssette A. Morales
:
                                              Lyssette A. Morales
                                              L A Morales & Associates P.S.C.
                                              Urb Villa Blanca
                                              76 Aquamarina
                                              Caguas, PR 00725-1908
                                              787-746-2434 Fax:855-298-2515
                                              lamoraleslawoffice@gmail.com



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Bankruptcy
          Case:19-01041-BKT7 Doc#:161 Filed:08/12/20 Entered:08/12/20 13:44:42                                                                              Desc: Main
                                     Document Page 2 of 23
 Fill in this information to identify your case and this filing:

 Debtor 1                    LUIS JAVIER VAZQUEZ URQUIA
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF PUERTO RICO

 Case number            20-00057 BKT                                                                                                                             Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        Condo Los Arcos de Suchville                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        81 CALLE 3 Apt 105                                                             Duplex or multi-unit building              the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                        Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Guaynabo                          PR        00966-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $135,000.00                $135,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Guaynabo                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                3b/2b Apt 105
                                                                                Secured Lien of IRS of $33,292.00 on *All of debtor(s) right, title and
                                                                                interest to property - 26 U.S.C. §6321.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $135,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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         Case:19-01041-BKT7 Doc#:161 Filed:08/12/20 Entered:08/12/20 13:44:42                                                                          Desc: Main
                                    Document Page 3 of 23
 Debtor 1        LUIS JAVIER VAZQUEZ URQUIA                                                                         Case number (if known)       20-00057 BKT
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       TOYOTA                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      HIGHLANDER                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                140,000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         Kbb Fair Trade in Value
         Secured Lien of IRS of                                      Check if this is community property                                $4,784.00                  $4,784.00
         $33,292.00 on *All of debtor(s)                             (see instructions)

         right, title and interest to
         property - 26 U.S.C. §6321.
         On loan to ex spouse for
         transportation for her &
         debtor's children.


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $4,784.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    REFRIGERATOR
                                    STOVE
                                    Microwave
                                    Living room set
                                    2 bedrrom sets
                                    Dining room set
                                    Secured Lien of IRS of $33,292.00 on *All of debtor(s) right, title
                                    and interest to property - 26 U.S.C. §6321                                                                                        $900.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV
                                    Secured Lien of IRS of $33,292.00 on *All of debtor(s) right, title
                                    and interest to property - 26 U.S.C. §6321                                                                                          $90.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1       LUIS JAVIER VAZQUEZ URQUIA                                                          Case number (if known)     20-00057 BKT


                                    5 Smartphones for debtor & daughters, 3 of the phones are now
                                    held & owned by daughters                                                                                    $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    WEARING APPAREL & personal effects for D & his family
                                    Secured Lien of IRS of $33,292.00 on *All of debtor(s) right, title
                                    and interest to property - 26 U.S.C. §6321                                                                     $750.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Graduation ring
                                    Wedding band
                                    Gold band in possession of ex spouse
                                    FAUX JEWELRY
                                    Men's WATCH
                                    Ds properties are subject to IRS lien
                                    Secured Lien of IRS of $33,292.00 on *All of debtor(s) right, title
                                    and interest to property - 26 U.S.C. §6321                                                                   $1,600.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $4,840.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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 Debtor 1         LUIS JAVIER VAZQUEZ URQUIA                                                                                        Case number (if known)   20-00057 BKT
                                                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash
                                                                                                                                       Secured Lien
                                                                                                                                       of IRS of
                                                                                                                                       $33,292.00 on
                                                                                                                                       *All of
                                                                                                                                       debtor(s)
                                                                                                                                       right, title and
                                                                                                                                       interest to
                                                                                                                                       property - 26
                                                                                                                                       U.S.C. §6321                           $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  BPPR
                                                                                                  Secured Lien of IRS of $33,292.00 on *All of
                                                          Checking Acct                           debtor(s) right, title and interest to property -
                                              17.1.       #7307                                   26 U.S.C. §6321.                                                            $250.48

                                                                                                  BSPR closed June 2019
                                                                                                  Secured Lien of IRS of $33,292.00 on *All of
                                                          Checking Acct                           debtor(s) right, title and interest to property -
                                              17.2.       #6723                                   26 U.S.C. §6321                                                             $626.56


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:


Official Form 106A/B                                                                       Schedule A/B: Property                                                                 page 4
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 Debtor 1        LUIS JAVIER VAZQUEZ URQUIA                                                              Case number (if known)      20-00057 BKT
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2018 I/T Refund generally set off for
                                                             payment of state taxes owed & /or to
                                                             pay DSO; IRS tax lien extends to all of
                                                             debtor's properties.. Since petition
                                                             date Treasury has adjusted Refund &
                                                             debtor appears to now owe Treasury
                                                             $2,946 due to 'mathematical error' &
                                                             several inadvertently omitted 480's.              State                                      $0.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                        value:




Official Form 106A/B                                                 Schedule A/B: Property                                                               page 5
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 Debtor 1        LUIS JAVIER VAZQUEZ URQUIA                                                                                      Case number (if known)        20-00057 BKT


                                             Primerica Unmatured Term Life
                                             Insurance
                                             Value upon death $250,000 for
                                             beneficiaries. No interest to estate
                                             under §522(d)(7) as unmatured life
                                             insurance contract                                                       4 minor daughters                                             $0.00


                                             Malpractice Insurance w/ Triple S Ins                                    Whoever may lay a
                                             for up to $100,000 in claims                                             claim against Debtor
                                             No value to Estate                                                       for malpractice                                               $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
        Yes. Give specific information..

                                                          Capital Group American Funds under Priamerica
                                                          Secured Lien of IRS of $33,292.00 on *All of debtor(s) right,
                                                          title and interest to property - 26 U.S.C. §6321
                                                          No exemption taken as it is attached by IRS                                                                         $4,387.00



 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $5,364.04


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
        Yes. Describe.....


Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
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 Debtor 1        LUIS JAVIER VAZQUEZ URQUIA                                                                                      Case number (if known)        20-00057 BKT


                                        Desk & chair
                                        Laptop & Printer
                                        Secured Lien of IRS of $33,292.00 on *All of debtor(s) right, title
                                        and interest to property - 26 U.S.C. §6321.                                                                                              $80.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                        OPTHALMOSCOPY depreciated value $120
                                        RETINO COPY $800.00
                                        TRANSLUMINATOR $900.00
                                        Secured Lien of IRS of $33,292.00 on *All of debtor(s) right, title
                                        and interest to property - 26 U.S.C. §6321.                                                                                           $1,820.00


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................            $1,900.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00
Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 7
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 Debtor 1         LUIS JAVIER VAZQUEZ URQUIA                                                                                            Case number (if known)   20-00057 BKT


 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $135,000.00
 56. Part 2: Total vehicles, line 5                                                                             $4,784.00
 57. Part 3: Total personal and household items, line 15                                                        $4,840.00
 58. Part 4: Total financial assets, line 36                                                                    $5,364.04
 59. Part 5: Total business-related property, line 45                                                           $1,900.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $16,888.04              Copy personal property total           $16,888.04

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $151,888.04




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 8
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                                    Document Page 10 of 23
 Fill in this information to identify your case:

 Debtor 1                 LUIS JAVIER VAZQUEZ URQUIA
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF PUERTO RICO

 Case number           20-00057 BKT
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Condo Los Arcos de Suchville 81                                $135,000.00                               $23,675.00      11 U.S.C. § 522(d)(1)
      CALLE 3 Apt 105 Guaynabo, PR
      00966 Guaynabo County                                                                100% of fair market value, up to
      3b/2b Apt 105                                                                        any applicable statutory limit
      Secured Lien of IRS of $33,292.00 on
      *All of debtor(s) right, title and
      interest to property - 26 U.S.C. §6321.
      Line from Schedule A/B: 1.1

      2013 TOYOTA HIGHLANDER 140,000                                   $4,784.00                                 $3,775.00     11 U.S.C. § 522(d)(2)
      miles
      Kbb Fair Trade in Value                                                              100% of fair market value, up to
      Secured Lien of IRS of $33,292.00 on                                                 any applicable statutory limit
      *All of debtor(s) right, title and
      interest to property - 26 U.S.C. §6321.
      On loan to ex spouse for
      transportation for her & debtor's
      children.
      Line from Schedule A/B: 3.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
        Case:19-01041-BKT7 Doc#:161 Filed:08/12/20 Entered:08/12/20 13:44:42                                                                   Desc: Main
                                  Document Page 11 of 23
 Debtor 1    LUIS JAVIER VAZQUEZ URQUIA                                                                  Case number (if known)     20-00057 BKT
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     REFRIGERATOR                                                        $900.00                                   $900.00        11 U.S.C. § 522(d)(3)
     STOVE
     Microwave                                                                             100% of fair market value, up to
     Living room set                                                                       any applicable statutory limit
     2 bedrrom sets
     Dining room set
     Secured Lien of IRS of $33,292.00 on
     *All of debtor(s) right, title and
     interest to property - 26 U.S.C. §6321
     Line from Schedule A/B: 6.1

     TV                                                                   $90.00                                    $90.00        11 U.S.C. § 522(d)(3)
     Secured Lien of IRS of $33,292.00 on
     *All of debtor(s) right, title and                                                    100% of fair market value, up to
     interest to property - 26 U.S.C. §6321                                                any applicable statutory limit
     Line from Schedule A/B: 7.1

     5 Smartphones for debtor &                                       $1,500.00                                  $1,500.00        11 U.S.C. § 522(d)(3)
     daughters, 3 of the phones are now
     held & owned by daughters                                                             100% of fair market value, up to
     Line from Schedule A/B: 7.2                                                           any applicable statutory limit

     WEARING APPAREL & personal                                          $750.00                                   $750.00        11 U.S.C. § 522(d)(3)
     effects for D & his family
     Secured Lien of IRS of $33,292.00 on                                                  100% of fair market value, up to
     *All of debtor(s) right, title and                                                    any applicable statutory limit
     interest to property - 26 U.S.C. §6321
     Line from Schedule A/B: 11.1

     Graduation ring                                                  $1,600.00                                  $1,600.00        11 U.S.C. § 522(d)(4)
     Wedding band
     Gold band in possession of ex                                                         100% of fair market value, up to
     spouse                                                                                any applicable statutory limit
     FAUX JEWELRY
     Men's WATCH
     Ds properties are subject to IRS lien
     Secured Lien of IRS of $33,292.00 on
     *All of debtor(s) right, title and
     interest to property - 26 U.S.C. §6321
     Line from Schedule A/B: 12.1

     Cash                                                                $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
     Secured Lien of IRS of $33,292.00 on
     *All of debtor(s) right, title and                                                    100% of fair market value, up to
     interest to property - 26 U.S.C. §6321                                                any applicable statutory limit
     Line from Schedule A/B: 16.1

     Checking Acct #7307: BPPR                                           $250.48                                   $250.48        11 U.S.C. § 522(d)(5)
     Secured Lien of IRS of $33,292.00 on
     *All of debtor(s) right, title and                                                    100% of fair market value, up to
     interest to property - 26 U.S.C. §6321.                                               any applicable statutory limit
     Line from Schedule A/B: 17.1

     Checking Acct #6723: BSPR closed                                    $626.56                                   $626.56        11 U.S.C. § 522(d)(5)
     June 2019
     Secured Lien of IRS of $33,292.00 on                                                  100% of fair market value, up to
     *All of debtor(s) right, title and                                                    any applicable statutory limit
     interest to property - 26 U.S.C. §6321
     Line from Schedule A/B: 17.2


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    LUIS JAVIER VAZQUEZ URQUIA                                                                  Case number (if known)     20-00057 BKT
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     State: 2018 I/T Refund generally set                                   $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
     off for payment of state taxes owed &
     /or to pay DSO                                                                        100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit

     Primerica Unmatured Term Life                                          $0.00                            $250,000.00          11 U.S.C. § 522(d)(7)
     Insurance
     Value upon death $250,000 for                                                         100% of fair market value, up to
     beneficiaries. No interest to estate                                                  any applicable statutory limit
     under §522(d)(7) as unmatured life
     insurance contract
     Beneficiary: 4 minor daughters
     Line from Schedule A/B: 31.1

     Malpractice Insurance w/ Triple S Ins                                  $0.00                                     $0.00       11 U.S.C. § 522(d)(6)
     for up to $100,000 in claims
     No value to Estate                                                                    100% of fair market value, up to
     Beneficiary: Whoever may lay a claim                                                  any applicable statutory limit
     against Debtor for malpractice
     Line from Schedule A/B: 31.2

     Capital Group American Funds under                               $4,387.00                                 Unknown           11 U.S.C. § 522(d)(5)
     Priamerica
     Secured Lien of IRS of $33,292.00 on                                                  100% of fair market value, up to
     *All of debtor(s) right, title and                                                    any applicable statutory limit
     interest to property - 26 U.S.C. §6321
     No exemption taken as it is attached
     by IRS
     Line from Schedule A/B: 35.1

     Desk & chair                                                         $80.00                                      $0.00       11 U.S.C. § 522(d)(6)
     Laptop & Printer
     Secured Lien of IRS of $33,292.00 on                                                  100% of fair market value, up to
     *All of debtor(s) right, title and                                                    any applicable statutory limit
     interest to property - 26 U.S.C. §6321.
     Line from Schedule A/B: 39.1

     OPTHALMOSCOPY depreciated                                        $1,820.00                                  $2,375.00        11 U.S.C. § 522(d)(6)
     value $120
     RETINO COPY $800.00                                                                   100% of fair market value, up to
     TRANSLUMINATOR $900.00                                                                any applicable statutory limit
     Secured Lien of IRS of $33,292.00 on
     *All of debtor(s) right, title and
     interest to property - 26 U.S.C. §6321.
     Line from Schedule A/B: 40.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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[[[RTF FILE BEGIN]]] VAZQUEZURQUIALUI_106CEXEMPT.RTF [[[RTF FILE END]]]
[[BK]]Schedule C - Property You Claim as Exempt]BK[
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Fill in this information to identify your case:

Debtor 1                      LUIS JAVIER VAZQUEZ URQUIA

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF PUERTO RICO

Case number               20-00057 BKT                                                                  Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Optometrist
       Include part-time, seasonal, or
       self-employed work.                                         Dr. DAVID SILVA CARABALLO
                                             Employer's name       & PT C Villalb
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   PO BOX 366494
                                                                   San Juan, PR 00936

                                             How long employed there?         1.6 yrs / PT as of Oct
                                                                              2019

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   LUIS JAVIER VAZQUEZ URQUIA                                                            Case number (if known)    20-00057 BKT


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
     5e.    Insurance                                                                     5e.        $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
     5g.    Union dues                                                                    5g.        $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      6,120.67         $               N/A
     8b. Interest and dividends                                                           8b.        $          0.00         $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
     8e. Social Security                                                                  8e.        $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.        $              0.00     $               N/A
     8g. Pension or retirement income                                                     8g.        $              0.00     $               N/A
                                         Med Plans & Sporadic Repair
     8h.    Other monthly income. Specify:
                                         Glasses avg 6 mos prior bk                       8h.+ $              276.64 + $                     N/A
            Med Plans as of 10/2019 P/T Clinica Villalba 5 mos avg                             $              345.26   $                     N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          6,742.57         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,742.57 + $             N/A = $          6,742.57
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $         6,742.57
                                                                                                                                         Combined
                                                                                                                                         monthly income




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Debtor 1   LUIS JAVIER VAZQUEZ URQUIA                                          Case number (if known)   20-00057 BKT

13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Improbable. Debtor is under service contract w/ Dr Silva at 2 Opticals in Coto Laurel (San Cristobal
                        Hospital) & San German [Southwest Optica] since 4/30/2018. & as of filing. Both jobs consume D's
                        entire work week & can no longer keep up with a third job. His employment w/ Cohen lasted until
                        Feb of 2019. D has used 2018 tax return in his Busn Income & Expenses form which translates to
                        $97,771 gross income for 2018 pro rated monthly. This amount includes omitted 480's which
                        Treasury has already adjusted & an amendment to return is no longer necessary, as per advise of
                        Accountant. D has added averaged income from P/T Clinica Villalba obtained 8 months post petition
                        that although was not income upon filing has been added herein for disclosure purposes,




Official Form 106I                                        Schedule I: Your Income                                      page 3
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[[[RTF FILE BEGIN]]] VAZQUEZURQUIALUI_106IINCOME.RTF [[[RTF FILE END]]]
[[BK]]Schedule I - Your Income]BK[
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Fill in this information to identify your case:

Debtor 1                 LUIS JAVIER VAZQUEZ URQUIA                                                        Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF PUERTO RICO                                                    MM / DD / YYYY

Case number           20-00057 BKT
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             10                   Yes
                                                                                                                                             No
                                                                                   Daughter                             12                   Yes
                                                                                                                                             No
                                                                                   Daughter                             14                   Yes
                                                                                                                                             No
                                                                                   Daughter                             15                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                               761.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              75.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             227.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1    LUIS JAVIER VAZQUEZ URQUIA                                                     Case number (if known)   20-00057 BKT

6.    Utilities:
      6a. Electricity, heat, natural gas                                                        6a.   $                       60.00
      6b. Water, sewer, garbage collection                                                      6b.   $                       50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                        6c.   $                      290.00
      6d. Other. Specify: Cable                                                                 6d.   $                       80.00
7.    Food and housekeeping supplies                                                             7.   $                      369.00
8.    Childcare and children’s education costs                                                   8.   $                      641.68
9.    Clothing, laundry, and dry cleaning                                                        9.   $                       89.00
10.   Personal care products and services                                                       10.   $                       38.00
11.   Medical and dental expenses                                                               11.   $                       52.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                              12. $                        230.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                        13. $                        200.00
14.   Charitable contributions and religious donations                                          14. $                         20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                      15a.   $                       85.68
      15b. Health insurance                                                                    15b.   $                      458.00
      15c. Vehicle insurance                                                                   15c.   $                        0.00
      15d. Other insurance. Specify:                                                           15d.   $                        0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: PR Treasury priorty debt $8,000/36 ESTIMATED Payout                              16. $                        222.00
      Specify: IRS priority debt $11,850/48 ESTIMATED Payout                                        $                        247.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                          17a. $                        688.00
      17b. Car payments for Vehicle 2                                                          17b. $                          0.00
      17c. Other. Specify: Projected & estimated repayment of DSO default/96
                          mos.                                                                 17c. $                        700.00
      17d. Other. Specify:Projected & estimated repayment A/F DSO/72 mos.                      17d. $                        167.00
            Projected & estimated repayment Student Loans                                           $                        200.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                            2,171.00
19. Other payments you make to support others who do not live with you.                         $                             275.00
    Specify: Dental braces for 2 daughters                                                 19.
             Violin classes for 1 daughter                                                 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                0.00
    20b. Real estate taxes                                                               20b. $                                0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                0.00
21. Other: Specify:   Misc & Emerg Fund / 30 days = $5.03 daily                            21. +$                            151.00
    Ongoing DSO litigation costs averaged monthly                                               +$                           350.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                          $               8,897.36
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                     $               8,897.36
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                          23a. $                       6,742.57
    23b. Copy your monthly expenses from line 22c above.                                       23b. -$                      8,897.36

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                              23c. $                      -2,154.79




Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
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Debtor 1    LUIS JAVIER VAZQUEZ URQUIA                                                                Case number (if known)      20-00057 BKT

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
        No.
        Yes.             Explain here: DSO support x D's 4 daughters + misc. expenses, back to school, braces, music classes, etc.
                         D travels long distance 2 & 3 times a week to each job site & thus incurrs higher than usual expenses for
                         travel annually. Debtor has accrued excessive arrearage in most essentials, taxes, DSO, home & car due
                         to prior unreasonably high DSO adjusted downward as recently as 5/2019 & also due to ever increasing
                         litigation costs.Projected & estimated repayment plans included here $1,536 is x future workouts.




Official Form 106J                                                 Schedule J: Your Expenses                                                                     page 3
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[[[RTF FILE BEGIN]]] VAZQUEZURQUIALUI_106JEXPENS.RTF [[[RTF FILE END]]]
[[BK]]Schedule J - Your Expenses]BK[
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                                                  United States Bankruptcy Court
                                                      District of Puerto Rico
 In re    LUIS JAVIER VAZQUEZ URQUIA                                                       Case No.     19-01041 BKT
                                                                 Debtor(s)                 Chapter      7


                                          Amended BUSINESS INCOME & EXPENSES
     FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the
     business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
     1. Gross Income For 12 Months Prior to Filing:                                    $              97,771*
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
     2. Gross Monthly Income                                                                               $            8,147.58
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
     3. Net Employee Payroll (Other Than Debtor)                                       $                 0.00
     4. Payroll Taxes                                                                                    0.00
     5. Unemployment Taxes                                                                               0.00
     6. Worker's Compensation                                                                            0.00
     7. Other Taxes PR $7,232/12 + IRS $2,606/12                                                       820.00
     8. Inventory Purchases (Including raw materials)                                                    0.00
     9. Purchase of Feed/Fertilizer/Seed/Spray                                                           0.00
     10. Rent (Other than debtor's principal residence)                                                  0.00
     11. Utilities                                                                                       0.00
     12. Office Expenses and Supplies Uniforms                                                         21.00
     13. Repairs and Maintenance
     14. Vehicle Expenses                                                                             637.00
     15. Travel and Entertainment NYC Vision Expo $900/12                                              75.00
     16. Equipment Rental and Leases                                                                    0.00
     17. Legal/Accounting/Other Professional Fees Inmediata + Accountant                              167.00
     18. Insurance Malpractice                                                                          8.33
     19. Employee Benefits (e.g., pension, medical, etc.)                                               0.00
         20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts2,
         (Specify) : Non business secured creditors + HOA                                         [1,676.00]
         Continuing Medical Edu                                                                       62.50
         Bd of Optometry                                                                               20.83

              DESCRIPTION                                                      TOTAL

         21. Other (Specify): Non business DSO                                                    [2,171.00]

              DESCRIPTION                                                      TOTAL

         22. Total Monthly Expenses (Add items 3-21)                                                       $            1,811.66
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
     23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                         $            6,336.00
     [*$97,771 is from 2018 Tax Return + omitted 480s $24,997]




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          Case:19-01041-BKT7 Doc#:161 Filed:08/12/20 Entered:08/12/20 13:44:42                                                          Desc: Main
                                    Document Page 23 of 23




 Fill in this information to identify your case:

 Debtor 1                    LUIS JAVIER VAZQUEZ URQUIA
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF PUERTO RICO

 Case number              20-00057 BKT
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ LUIS JAVIER VAZQUEZ URQUIA                                            X
              LUIS JAVIER VAZQUEZ URQUIA                                                Signature of Debtor 2
              Signature of Debtor 1

              Date       March 3, 2020                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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